               Case: 1:20-cv-03366 Document #: 52-4 Filed: 11/19/21 Page 1 of 32 PageID #:1717

   From:          Murphy, Alexandra [AMURPHY1@depaul.edu]
   on behalf of   Murphy, Alexandra <AMURPHY1@depaul.edu> [AMURPHY1@depaul.edu]
   Sent:          11/6/2019 1:10:44 AM
   To:




   H-
   Subject:       Re: Request for Additional Documentation from the Faculty Appeals Board




   I have attached most of the documents that you requested. I am afraid I am having trouble with my office scanner. So, I
   need to try to scan the redacted emails related to the student complaints when I get home. I wanted to get the rest of it
   sent to you before I leave the office.

   I did the best I could to respond to your questions within a pretty short time frame. Please let me know if you need me
   to expand or clarify anything.

   All my best,
   Lexa.




   From:
   Date: Tuesday, November 5, 2019 at 10:32 AM
   To: Alexandra Murphy <AMURPHY1@depaul.edu>
   Subject: Re: Request for Additional Documentation from the Faculty Appeals Board



   Dear Lexa,



   Thank you for the update. The board's next meeting is Thursday, so if you have a few items you can't complete
   today, tomorrow would still be an option.



   Thanks,




   From: Murphy, Alexandra
   Sent: Tuesday, November 5, 2019 10:13:11 AM
   To:
   Subject: Re: Request for Additional Documentation from the Faculty Appeals Board


   Hi-

   I will have all my responses to you by today. I had to go out of town last week for two days, so I haven't had as much
   time to work on this as I had hoped.




Confidential                                                                                           Calvente-DePaul 017321
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   All my best,
   Lexa.


   From:
   Date: Tuesday, October 29, 2019 at 5:17 AM
   To: Alexandra Murphy <AMURPHY1@depaul.edu>
   Subject: Re: Request for Additional Documentation from the Faculty Appeals Board



   Dear Lexa,



   Thank you for your reply. Attached please find a list of questions from the faculty appeals board.



   Although it would be helpful for us to have your responses before our next meeting (November 7), we
   understand that these final weeks of the quarter will be very busy and that may not be possible. Please inform
   us if that time frame does not work for your schedule.



   Thanks,




   From: Murphy, Alexandra
   Sent: Monday, October 28, 2019 2:32:35 PM
   To
   Subject: Re: Request for Additional Documentation from the Faculty Appeals Board




   Just letting you know I received this message and will get to work on providing this documentation as soon as possible.

   All my best,
   Lexa.


   From:
   Date: Monday, October 28, 2019 at 11:36 AM
   To: Alexandra Murphy <AMURPHY1@depaul.edu>
   Subject: Request for Additional Documentation from the Faculty Appeals Board




Confidential                                                                                          Calvente-DePaul 017322
               Case: 1:20-cv-03366 Document #: 52-4 Filed: 11/19/21 Page 3 of 32 PageID #:1719



   Dear Dean Murphy,



   As you know, the faculty appeals board is still investigating Lisa Calvente's appeal based on grounds 2 and 3 in

   Section 5.1.2.3 of the Faculty Handbook, which states "A faculty member may appeal the decision to deny an
   application for tenure and promotion. The appeal must be based on one or more of the following grounds:

       1. The decision violated the faculty member's academic freedom.
       2. The evaluation of the candidate deviated from procedures in the Faculty Handbook or in college or
          local academic unit guidelines, and the deviation was material to the final decision.
       3. The decision was the result of discriminatory practices prohibited by university policies or applicable
          federal, state, or local laws."

   The board requests the following documentation:



   (1) Please provide the board with anonymized (all faculty names removed) copies of the service sections of the
   CV's of all candidates for tenure from the College of Communication who have been ranked by the College
   Personnel Committee as "excellent" in service within the previous ten years.



   (2) Please provide the board with anonymized (i.e. all student names removed) copies of lill_documentation in
   your possession related to the fall 2018 student complaints mentioned in your recommendation to the UBPT
   dated January 9, 2019.

   The board requests that you provide (2) as soon as possible and that you provide (1) by November 4.

   The board will also send you a list of questions in a few days.



   In the event that this documentation does not reach the board by November 6, the board will move forward with
   its determination and recommendation to the President on the basis of existing documentation provided by the
   appellant and the University EEO office.



   The board very much appreciates your contribution to this crucial faculty governance responsibility.



   Sincerely,




Confidential                                                                                    Calvente-DePaul 017323
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   Dr.



   Faculty Appeals Board




Confidential                                                                         Calvente-DePaul 017324
                 Case: 1:20-cv-03366 Document #: 52-4 Filed: 11/19/21 Page 5 of 32 PageID #:1721




           October 15, 2018.

           [Student A] came to my office to discuss a recent problematic encounter in his performance
           course with Dr. Lisa Calvente. He left a message on the College of Communication voicemail
           and also tried to contact Dr.                 (chair of Communication Studies). The following is
           a summary of his experience and does not include the professor's perspective.

           He started by saying he had never been treated with so much unprofessionalism and felt very
           attacked after a recent performance the Thursday prior. He claimed he had not slept in four
           days, was feeling traumatized and was terrified to go back to class.

           The students were given a performance assignment to perform a "real experience" to not act
           and not present a fiction. He believed he and his group members "nailed it" and was very
           proud of the performance scenes they created and performed. There were four group
           members, one female and three male. One of the males is from Saudi Arabia, all other
           members of the group are White.

           After the performance, several class members complimented the group. Dr. Calvente then
           stated that the group did not meet the criteria of the assignment. He is still unclear how that is
           the case. The group members tried to explain what they were trying to do in the performance.
           Dr. Calvente got visibly angry. She kept "death glaring" at us. She was looking at us with the
           "biggest scowl on her face." She claimed the male group members were examples of sexism
           and misogyny. -believed that when the rest of the class wasn't agreeing, it "ratcheted up
           her anger." She kept telling us that we were sexist and misogynists. [Student A] was shocked
           and angry that he was being publicly called a sexist and a misogynist. It was 3:00 (the class
           ending time) and he said that Dr. Calvente was still going strong. Finally, at 3:07, [the student]
           had to leave for his next class and he started to gather his belongings. He also gathered up the
           props he had brought into the class. He left the class and at the door he muttered under his
           breath, "this is bullshit." He says he regrets saying this, but he was so shocked and angry that it
           just came out. Dr. Calvente and the class heard this response.

           Another member of the group, [Student B] wrote on behalf of the group to meet with Dr.
           Calvente to discuss what had happened at the Thursday class. The email appears respectful
           and acknowledges that the class ended in an unpleasant way and that they would like to speak
           with her about what happened and clarify any misunderstandings. They were told that they
           could not meet as a group, that office hours are only one-on-one meetings because grades
           would be discussed. The group did not understand this because it is a group grade and they
           didn't necessarily intend on talking about grades.

               Dr. Calvente sent an email to the class, again, publicly calling the group members sexist and
               misogynist. And, said that they would be continuing this conversation at Tuesday's class.
               [Student A] said he was "terrified to go to class."




Confidential                                                                                        Calvente-DePaul 017387
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           I counseled him to contact Dr. Calvente, apologize for the comment, and talk to her about how
           he was feeling. In the end, he did not feel comfortable doing this. He went to class on Tuesday
           and came to speak with me afterward. He said he felt "continually alienated" in the class. He
           was "shaking inside." He said, "As a white male, I am scared to say anything, scared to question
           anything." He has decided that for his "mental well-being," he needs to drop the class: "my
           mental health is worth the $2500 in tuition I will lose."

           October 18, 2018.

           I met with [Student B]. He expressed similar concerns as [Student A]. He summarized the main
           performance scenes that the group created. He is still very unclear as to what Dr. Calvente
           means by "they are fictions and not reality." She told them that "everything that happened in
           the scene was a fabrication of reality-you did not meet the assignment criteria." He said that
           as an Arab, brown skinned man, he thought he was expressing his reality. She asked him to
           give an example and he said that he didn't feel comfortable being vulnerable as an Arab man in
           a class of people he didn't know well to give an example of what recently happened to him at
           DePaul (this was a sexism example). He gave an example from Saudi Arabia. He was told again
           that it was a fabrication. He said he felt that his entire experience was not being acknowledged
           or validated. I have not gotten Dr. Calvente version of this, so it is very likely that she has valid
           points about the assignment criteria. But, the students are not understanding this. [Student B]
           corroborated the events from the Thursday class and the accusations made by Dr. Calvente of
           sexism and misogyny in front of the class. He also said that they picked up all their props and
           that it was after the class time was over when [Student A] left the room. He admitted that he
           was upset and he showed it. He was mad because "it was as if my reality does not matter, the
           professor is a person of power." He felt completely at a loss and was frustrated that his
           perspective was not being heard. In his mind, the performance scenes were sensitive and
           accurate to society. He believed that she got mad at them because we didn't give agreement to
           her argument. And, as students, they did not feel validated or appreciated for their work. At
           the end of class, [Student A] asked, "was there anything good in the performance?" She
           responded, "yes, but .. " and then continued to critique it.

           I asked [Student B] what he was hoping to accomplish or have happen. He said, "I want a
           healthy environment for me to disagree with an idea that is brought up in the class. On
           Tuesday, she [Dr. Calvente] said, 'I am the teacher.' 'I am the authority." He said, "I left Saudi
           Arabia to avoid this kind of thinking and education. He said, "I was not disrespecting her
           authority. I was disagreeing with an idea." He said he wants an environment where he is not
           humiliated and that he can feel safe while getting educated."



           October 23, 2018
           When I spoke to Dr. Calvente about the incident, she explained that the students had
           completely missed the point of the performance exercise. She said the male students were
           disruptive in the class and interrupted both her and a female student who was in their group.
           She was also frustrated that at the end of class the male students left without helping with the




Confidential                                                                                       Calvente-DePaul 017388
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           props, leaving just her and the female student to clean up (the male students said they took the
           props they brought). She explained that after the class, the female student from the group
           emailed her to tell her that she was hesitant to come to the next class because the male
           students in the group were pressuring her to agree with them and attend a group meeting with
           Dr. Calvente. Dr. Calvente assured her that there would be no group meeting (for the reasons
           stated above). Dr. Calvente also filed an incident report with the Dean of Students Office about
           the male students and what she believed was very disruptive classroom behavior. I let her know
           that the male student who remained in the class was feeling extremely uncomfortable and
           isolated. I asked what she might do to help him better understand the course material, the
           assignment, and the critique. She said that the responsibility was on him and that he would
           need to fully participate to expect a good grade. I asked if she would reach out to him and she
           said she would.




Confidential                                                                                  Calvente-DePaul 017389
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                                                     DePaul University
                                                  Incident Reporting Form
                                      Submitted on October 15, 2018 at 2:28:33 pm CDT
      Nature:                              General Conduct Report
      Urgency:                             Normal
      Incident Date and Time:              2018-10-11 2:45 PM
      Incident Location:                   Other 14 East Jackson Lower Level room 102

      Reported by

     Name:                  Lisa Calvente
     Title:                 Assistant Professor
     Email:                 lcalvent@depaul.edu
     Phone:                 3123627992
     Address:               College of Communication, 14 East Jackson Suite 1832
                            [Authenticated as LCALVENl]


      Involved Parties


                                                Male


     Alleged                                    Male


     Alleged                                    Male

      Questions

     Please provide a detailed description of the incident/concern using specific concise, objective language (who, what,
     where, when, why and how).
     I teach a performance-based course in the College of Communication, CMNS 230, and on Thursday, October
     11, my students performed their first graded performance. Four groups performed in total and part of the
     performance process is to provide feedback at the conclusion of the performance. The three of the four
     members of the last group did not receive their criticism very well and                     angrily left class stating
     "This is bullshit." This occurred during the "talk back" session and students and I were still speaking. This
     incident was disrespectful and disrupted the end of my class.

      The two other students in the group left after immediately after we concluded and the last student was left to
      clean up after her group. I emailed the class addressing their behavior and stated that it would be addressed
      in class tomorrow (10/16). Just yesterday, however, I received an email from the only female student in the
      group stating that the other 3 members were contacting her during group chat and she did not want to attend
      class because they were being overwhelming. The email is pasted below:

     Hey,
     I just wanted to let you know that I'm probably not going to come to class on Tuesday. The guys in my group
     are still really upset about the critique. They were planning on meeting with you before class at some point
     and are not happy about the fact that I don't want to go because they think "it would help our side". I just feel
     like it is so unnecessary, because I didn't see a problem with the critique and understood the point you were
     getting at about the scene. It's giving me a lot of anxiety to have to deal with them right now and I don't know
     if I feel comfortable having that discussion. They are just being a little overwhelming in the group chat right
     now and I don't really know what to do.
     sorry,
     [female student]




Confidential                                                                                            Calvente-DePaul 017390
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     I responded that I was deeply sorry that she had to deal with what started to seem like harassment from
     group members in a group that she is no longer a part of (as the syllabus illustrates, once the staged
     performance concludes they are no longer group members). I supported her feelings by stating that it
     seemed from her email, that the members in her former group were using "group chat" in uninviting ways
     and their behavior was interfering with her learning and class experience. I encouraged her to attend class
     and that class continued to be a safe space and discussion would not be about her but behaviors of
     misogyny, performance pedagogy, and audience reception. I told her that we should meet to talk in person
     and assured her that there will be no group meeting because office meetings between professor and student
     are one on one and a meeting that they suggest will violate the confidentiality relationship of such meetings
     especially since they want to discuss a graded assignment.

     Her and I met today and I informed her that I would be reporting the other group members' behavior but
     would not use her name. She told me that the three students wanted to meet with me as a group and were
     pressuring her to accompany them. She told me that she did not agree with them but they kept insisting.
     They then included her name in the email and she had to ask them to remove it. They told her that they were
     victims of misandry, they deserve an apology from me, and their case was stronger if she would accompany
     them.

     I only provide this as context however and want to center on the disruption of my class and the three male
     group members' use of group chat to pressure the other student to do something she did not want to do to
     the point of her feeling like she did not want to attend class.

     Your DePaul Affiliation (if applicable):
     faculty


     Pending JR #00003297
      Submitted from 140.192.237.156 and routed to i    (Dean of Students). Processed by routing rule #1.




Confidential                                                                                                Calvente-DePaul 017391
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           Questions Prepared by the Appeals Board for Alexandra Murphy

           Please see my responses in bold below.
           Teaching

           1.Would it be correct to state that the majority of tenured faculty in the College of
           Communication decided in 2015 that student comments about 'intimidating and
           dismissive' behaviors should be assigned greater weight in the assessment of teaching
           than more numerous, positive qualitative and quantitative evidence? If the answer is
           no, what is the correct understanding?

           I don't believe it is a matter of assigning greater weight to the number of comments
           (positive versus negative). The issue was more about the content of the comments
           and Dr. Calvente's response to those comments that raised concerns.

           2.Would it be correct to state that student comments about Dr. Calvente's 'intimidating
           and dismissive' behaviors in the classroom were viewed by the College of
           Communication faculty as a major reason for the vote for non-renewal in 2017? If the
           answer is no, what was the major reason for the vote in favor of non-renewal?

           No. The rationale for the non-contract renewal votes is reflected in the 2017 formal
           review document. As the document shows, the issues cut across the areas of teaching,
           research, and service. Our T&P guidelines (approved by UBPT) stipulate that:

                   By the time of the secondformal review (typically the fourth probationary year), the
                   faculty member should have at least one area ranked as excellent with the clear
                   promise of moving at least one of the remaining areas to excellent within the time prior
                   to tenure. No ranking should be below very good during this review. By the tenure
                   review a faculty member's performance should be excellent in at least two of three
                   areas, and very good in the third. In the event that a faculty member's tenure clock is
                   stopped during the probationary period or a faculty member has received a
                   questionable prior review, additional formal reviews may be required. A faculty
                   member's performance in these additional reviews must demonstrate improvement
                   beyond the first formal review with the clear promise of meeting the requirements listed
                   for the second formal and tenure reviews listed above.

           In Lisa's case, for the evaluation of progress toward tenure, while there were varied votes
           in all areas, there were no votes of excellent in any of the three categories. In fact, the
           service ranking was rated as unsatisfactory by the majority of tenured faculty. The




Confidential                                                                                  Calvente-DePaul 017392
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           research, while ranked as excellent by the personnel committee for the review period, was
           ranked as very good/fair for progress toward tenure. This was supported by the tenured
           faculty votes. Even with teaching, the issues of concern went beyond the negative
           comments. As noted in the formal review document, concerns were raised about Dr.
           Calvente's dismissal of repeated requests and recommendations to diversify her teaching
           practices, to be more inclusive of varied learning styles, and to include a wider range of
           theories and perspectives in the core intercultural communication course.


           3.Would it be correct to state that as a result of the 2017 formal review the College of
           Communication articulated an expectation that Dr. Calvente receive ZERO student
           comments about an intimidating learning environment in qualitative comments/open
           responses in student teaching evaluations? If the answer is no, what were the college's
           specific expectations regarding such comments?

           I have never seen or heard any expectation that there would be zero comments about
           an intimidating learning environment. I believe the college's expectation was a
           combination of wanting to see fewer comments appearing and that there would be a
           recognition/acknowledge on the part of Dr. Calvente that the comments were of
           concern and should be addressed.

           4.Your recommendation to the UBPT dated January 9, 2019 states: "In the 2017 formal
           review, the personnel committee claimed that at least one comment that referenced
           intimidating and dismissive behavior was seen in 55% of her course evaluations." This
           statement clearly derives from the following statement in the 2017 formal review - "A
           major theme in qualitative comments throughout Lisa's teaching career at DePaul pertains to
           students feeling "intimidated" or "uncomfortable" in her classroom. In the current review
           period, such sentim.ents were visible every quarter and mentioned explicitly and implicitly in
           more than 55 percent (5 out of 9) of Lisa's course evaluations." Please reexamine the
           underlying evidence for this claim - the student evaluations from 2016-2017 - and
           respond to the following question: Which specific student comments (by quarter, class
           and six digit unique number) do you consider to be indicative of 'intimidating and
           dismissive behavior'?

           I relied on the personnel committee's assessment of these comments. I asked the
           author of that report to provide the original analysis (attached to this response).

           5.To provide context for the 55% statistic, would it not be correct to also state that a
           majority of the same students who had concerns also highlighted positive aspects of Dr.
           Calvente's teaching?

               I don't know that it is a majority. But, as highlighted in all review documents, there




Confidential                                                                                    Calvente-DePaul 017393
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           are many positive aspects to Dr. Calvente's teaching that are indicated in student
           comments. I think the point of the personnel committee and the tenured faculty is
           that the positive comments do not negate the importance of addressing continued
           comments of concern, particularly when they are viewed as repeatedly dismissed by
           the faculty member as important or as anything that might be changed in her own
           approach to teaching.

           6.How would you answer an allegation that college personnel documentation
           pertaining to Dr. Calvente' s case displays a clear and consistent pattern of
           overemphasizing negative student comments?

           I don't believe that negative comments have been overemphasized. Due to the
           content of the comments, they needed to be addressed. While they are not the
           majority of comments and may not even reflect the majority of student experiences
           (at least of those filling out the student evaluations), they are still reflective of some
           student experiences and merit attention and discussion.

           7.How would you answer an allegation that college personnel documentation
           pertaining to Dr. Calvente' s case displays a clear and consistent pattern of ignoring and
           downplaying positive student comments about Dr. Calvente' s teaching?

           Looking at all the formal review and tenure and promotion documents, there are
           numerous examples of positive student comments highlighted. I don't see that they
           were ignored or downplayed in any way. In looking at the 2018 tenure and
           promotion review alone, there are entire paragraphs that provide examples of very
           positive qualities as well as student comments. My own letter highlights positive
           aspects of her teaching as well and summarizes it with the following:

                   Again, I want to emphasize, for the majority of her students, Dr. Calvente provides a
                   positive, and for some an extraordinary experience. Site has made efforts to improve
                   some aspects of her teaching. To be an "excellent" teacher at an institution such as
                   DePaul, however, requires a commitment and an e_ffort to try to reach all students-
                   even those who may (possibly unfairly) view you or your course content negatively.
                   This is the conundrum of this case. Taken together, these concerns just~fy the
                   evaluation of "very good" as a fair assessment of lier teaching and consistent with
                   other cases in the college.


           8.How would you answer an allegation that college personnel documentation
           pertaining to Dr. Calvente' s case displays a clear and consistent pattern of giving voice
           to exceptional student comments that are unrepresentative of other comments for the
           same class?




Confidential                                                                                   Calvente-DePaul 017394
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           I believe that it is precisely because the comments are exceptional, in content and
           tone, that they are given voice. Again, while they might not reflect all student
           experiences, they are still reflective of some student experiences and merit attention
           and discussion.

           9.To what extent were perceptions of student drop rates in Dr. Calvente's classes - an
           issue referenced in the 2015 formal review - a subject of informal and formal
           discussions in the College of Communication? Is there any documentation in the files
           of the Dean's office that specifically raises this issue? If yes, please provide the board
           with this documentation.

           The comment in the 2015 formal review is a response to a student comment: "Dr.
           Calvente was insistent on students dropping the class on the first day and was
           shocked when students hadn't the second day." And, when the personnel committee
           asked Dr. Calvente in the interview about students who might feel disenfranchised
           from the class, she replied, "Most students drop. I advise them to drop" (see 2015
           formal review). The College, however, does not systematically track drop rates and it
           was not a factor in any subsequent formal reviews. I am not aware of it being a factor
           in any informal conversations about her teaching.

               Discrimination/Retaliation

           10.Would it be correct to state that prior to the submission of her tenure application Dr.
           Calvente never raised any concerns about the objectivity of your evaluations of her
           performance as a junior faculty member? If not please elaborate.

           To my knowledge, this is correct.

           11.Were you aware that Dr. Calvente reported concerns about discrimination and
           retaliation to University officials outside of the College of Communication during her
           probationary period? If yes, did this fact influence your recommendation to the UBPT?

           I was made aware that a university claim against the personnel committee was filed
           after the 2015 formal review. This knowledge did not, in any way, influence my
           recommendation to the UBPT.

           12.Would it be correct to state that during the entire time of Salma Ghanem's
           appointment as Dean of Communication Dr. Calvente never raised any concerns about
           the objectivity of Dean Ghanem' s evaluations of her performance as a junior faculty
           member? If not please elaborate.




Confidential                                                                               Calvente-DePaul 017395
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           To my knowledge, this is correct.

           13.Were you aware that in October 2018, only days before Salma Ghanem began her
           appointment as interim Provost, Dr. Calvente reported to her concerns about
           discrimination and disparate treatment of faculty of color in the College of
           Communication?

           I was aware that she spoke with Dr. Ghanem about some concerns. I was not given
           the details of the conversation.

           14.Is it correct to state that you never received any notifications about any open EEO
           investigations and that you were never subsequently interviewed or notified about any
           open EEO claims regarding discrimination or retaliation?

           This is correct. Although, I have just recently (in the last week) received notice of an
           open EEO claim.

           15.Are you aware of any occasions in which Dr. Calvente' s race or ethnicity were
           mentioned as a factor in personnel deliberations? If yes, please provide a detailed
           explanation.

           As far as I am aware, Dr. Calvente's race and ethnicity were only discussed during
           personnel deliberations when relevant to discussing her own pedagogical
           positioning as a woman of color teaching about race and ethnicity. All of these
           conversations are highlighted in the formal reviews with an attempt to capture the
           perspectives shared in the discussions. For example, as noted in the 2018 tenure
           review:

                    Dr. Calvente attributed the negative student comments referring to feeling
                    intimidated or silenced to the sensitive nature of the race-related conversations
                    in her classes as well as to her being a minority faculty teaching race
                    content. .. Many voting members expressly agreed that her identity as a woman
                    of color teaching content that engages race and racism from a critical
                    perspective will influence how students respond to the content and to Lisa as
                    their instructor ... However, some faculty members noted that Lisa misrepresents
                    the college-wide teaching context: other women of color teach courses that
                    approach issues of race, ethnicity, and gender from a critical perspective;
                    LGBTQfaculty members teach courses about LGBTQ content that also can be
                    considered uncomfortable for students. But the same issue of intimidation and
                    discomfort is not raised in their teaching evaluations.




Confidential                                                                              Calvente-DePaul 017396
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               Service

           16.Would it be correct to state that on more than one occasion Dr. Calvente volunteered
           for in-unit service obligations but was not chosen to serve by senior colleagues?

           I am only aware of one occasion when Dr. Calvente reached out to her program chair,
                             to volunteer for college and university committee assignments in
           the 2017. She sent her request after the call for committees had been out for a while
           and the college level committees had already been filled. Dr.-suggested she
           contact the faculty council representative on the committee on committees to see if
           there were any remaining openings.

           17.Is there any documentation in the files of the unit or Dean's office that outlines
           specific cases when Dr. Calvente refused to participate in a service assignment
           recommended or requested to her by her unit?

               I am not aware of her refusing service when asked.

           18.Is there any documentation in the files of the unit or Dean's office that outlines
           specific cases when Dr. Calvente volunteered for service but another faculty member
           was selected instead?

           I don't have any knowledge of this happening. I do know that she was selected over
           other interested faculty members to be on the Term Faculty Review Committee.

           19.How are decisions about unit level service made in the College of Communication?
           Are nominations solicited in open meetings? Are positions elected or appointed by
           dean or the chair of the unit?

           Unit level service is typically assigned after an open call for volunteers from the
           program chair or during faculty meetings. The personnel committee (college level) is
           the only elected committee. Open calls are also given out by our committee on
           committee representative for faculty council committees. Each summer, all
           committees, at the college and university level, are sent out, openings are
           highlighted, and faculty are encouraged to volunteer.

           20.In the November 2017 formal review the personnel committee states: "The tenured
           faculty endorsed the Personnel Committee's assessment that her service record at this
           advanced stage of her probationary period was inadequate as compared with the
           typical load for her peers." Please provide a detailed explanation of the "typical load"
           for a faculty member undergoing their third, formal probationary review.




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           We are a small college. As such, we have high needs and expectations for service
           contributions. The November 2017 formal review was a third probationary review.
           So, it was only one year prior to tenure. As requested, I have attached the service
           records of faculty from the past 10 years. At this time, we would expect a faculty
           member to have participated on several standing college committees (e.g. curriculum,
           assessment, program review, summer research committee, etc.). Often, they have
           chaired these committees. They may have also participated and/or chaired ad hoc
           committees and task forces (e.g. short-term solutions, curricular development). These
           are committees that meet more than once and have long-term charges. Some faculty
           have been track coordinators for college programs and even graduate directors. As a
           small college, we also have needs for faculty to serve on university level committees.
           Many of our faculty by the advanced stage of a probationary period have served on
           substantive university level committees such as URC, PSC, QIC, faculty council,
           Liberal Studies domain committees, LSC, and a variety of faculty council appointed
           committees.

           21.Your recommendation to the UBPT dated January 9, 2019 states: "The need to
           significantly increase her service to the College in more meaningful ways was
           communicated to Dr. Calvente in each prior formal review." What did you mean
           precisely by "more meaningful ways"? Were specific assignments ever proposed?

           The personnel committee and the tenured faculty consistently recommended in prior
           formal reviews that Dr. Calvente increase her service contributions. While there may
           be many lines under service on the vita, the personnel committee and the tenured
           faculty recognized that much of what is listed are smaller, ad hoc presentations in
           classes or attending the annual award brunch and presenting a student with an
           award (expectations for all our faculty). In another example, the Security Concerns
           Group listed on Dr. Calvente's CV consisted of one meeting when interested faculty
           were invited to come discuss security concerns in the building. Looking at her CV at
           the time of her 2018 tenure and promotion review, under the heading of College of
           Communication, the only substantive committee on which she served is the Non-
           Tenure Track Review Committee (now called the Term Faculty Review Committee).

           As the chair of the Term Faculty Review Committee, I wanted to help Dr. Calvente
           build her service record, so I recommended that she join the committee. I established
           the committee in spring of 2015, when we had one short orientation meeting. Dr.
           Calvente was on leave for the 2015-16 academic year. Rather than replace her, I held
           her spot on the committee and asked someone to fill in for that year. So, while her
           vita lists her as on the committee from Spring 2015 on, she was an active participant
           in 2017-2018 and continued on this committee until Winter 2019.




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           22.Why did not you express those same concerns in the letter you wrote in August 2016
           commending Dr. Calvente' s services to the unit and college?

           Dr. Calvente asked me to write a letter of support that detailed the service that she
           had done up to that point. I did not see my role at that time to position this service
           against that of her peers. As I note in my tenure recommendation, I appreciate the
           work that she has done. But, in context and in comparison, with what is typical across
           the college, and given the consistent feedback she was given in formal reviews, I
           agreed it was not enough to be rated as "excellent" in service.

               Fall 2018 Student Complaints

           Please feel free to comment on the section of Dr. Calvente' s Response to College
           Reports, which specifically addresses your representation of the fall 2018 complaints:
           "Dean Murphy disregards the details of a report made to the Dean of Students which
           consisted of an email from the only female student in their group, who was harassed by
           these three male students when they contacted her outside of class to the point where
           she no longer wanted to come to class. Dean Murphy disregards the quantitative
           evaluation scores of this course which ranged between a 4.09 and a 4.73--some of my
           lowest scores--and the overwhelming positive qualitative evaluations. One detailing
           these events, for instance, states, "the professor was incredible when handling the
           situation when regarding the topic. The topic had to deal with certain students being
           sexist, racist, and not letting other students speak. She handled the situation
           professionally without attacking the students and I felt it was one of the most
           interesting parts of my entire college career" [student evaluation# 1126176]. I received
           two negative evaluations for this class, out of eleven, with a 65% response rate. Finally,
           Dean Murphy disregards my ovvn assessment of the situation as the Professor, my
           explanation to her that I do not call any student, or person, misogynist, and how the
           Assistant Dean of Students, who handled this report, also identified these students'
           behavior as "toxic masculinity." Contrary to Acting Dean Murphy's account, the two
           students did actually participate in the class with my guidance and support and I
           continued to work with each of them on their remaining performances, including
           individual assignments, to ensure their success. Acting Dean Murphy had access to all
           of this information yet used her appointed administrative positions as Associate Dean
           and Acting Dean to continue to misrepresent me and depict me in such an egregious
           manner, an act that is highly offensive, racially insensitive, and noteworthy for its
           unprofessionalism."

           My decision to include the student complaints from Fall 2018 was not made lightly. In my




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           20 years of teaching and administrative work at DePaul, I have never experienced the level
           of intense emotion as I did when meeting with these two students. I did my best to
           characterize the main concerns from the students' perspective and to acknowledge that Dr.
           Calvente had a different read of the situation. I have provided you with the lengthier
           summary of the meetings with the students, Dr. Calvente, as well as student emails.

           First, Dr. Calvente accuses me of disregarding the details of the report to the Dean of
           Students. I reference that she submitted this report and note that she characterized the
           students as disruptive and disrespectful to her and a fem ale student. The report was
           submitted by Dr. Calvente, not the female student. The characterization of the male
           students "harassing" the female student was made by Dr. Calvente, not the female student.
           As part of our conversations (and unrelated to the incident report because the male
           students were not aware this was filed), the male students showed me a screen shot from
           the female student stating that she was not offended in the class discussion (attached in
           supporting documents). So, without having heard from the female student directly, I didn't
           feel I could go into a lot of detail on that student's experience. You will also see from my
           October 2018 summary of the complaint that I left out a lot of detail from the male
           students who were complaining as well. I tried to capture the essence of their concerns and
           to note that Dr. Calvente had a different read of the situation as concisely as possible.

           Related to this, Dr. Calvente also claims that I disregarded her own assessment of the
           situation. However, I do include in the letter that she believed the male students were
           disruptive and disrespectful. I also try to give some perspective by saying she may have
           been calling the students out as "sexists and misogynist" as a teachable moment related to
           the course content. This is something I suggested to both the students and to her when we
           met. I also explained that the male students did not perceive it this way and came away
           from the experience feeling targeted, uncomfortable, and isolated. They only knew that a
           professor called them misogynists and then refused to meet with them to discuss what
           happened.

           Dr. Calvente also states that I ignored the positive student evaluations from the class. I did
           not ignore them. Before they were even made available to me, I was instructed by
           Academic Affairs not to include them because they were not part of the official dossier for
           tenure and promotion. l\foreover, they are not relevant to the student complaints. I was not
           trying to make the point that the majority of students had this experience, I was giving
           voice to the two students who felt so under attack that they needed to come and seek help
           from someone in the College office.

           Dr. Calvente claims that contrary to my account, the two students did participate in the
           class with her guidance. You will see in the complaint summary, that in my discussion with
           Dr. Calvente, I let her know that one of the male students had dropped the course. So only
           one of the students remained in the class. I told her that the other was feeling extremely
           uncomfortable and isolated. He could not drop the course because of his financial aid
           package. When I asked if there was something she could do to help draw him back into the
           course and to help him better understand the course material, the assignment, and the
           critique, she said it was his responsibility and that he would need to fully participate to get
           a good grade. At that point, he had canceled a meeting he had requested with her because




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           she would only meet one on one and he said he was too uncomfortable to do that. Since he
           was staying in the class, I asked her to reach out to him to try to meet and help him
           understand and she said she would. I followed up with the remaining student in early
           January to see how the class went and to see if Dr. Calvente ever reached out to him. He
           said he did pass the class. But, I was disappointed to learn that Dr. Calvente did not reach
           out to him as she had promised (see attached email from student).

           As I stated in my recommendation letter, I decided to include these student complaints
           because they were formal complaints that provided additional context for understanding
           prior student comments in evaluations and the college decision about Dr. Calvente's
           teaching. This decision was based less on the number of negative versus positive comments
           and more on how Dr. Calvente has chosen to respond (or not respond) to negative student
           experiences voiced in regards to her classes. While the male students might have struggled
           with understanding the course assignment or approaches, it was the content and manner of
           her feedback that seemed to be the most problematic and alienating for them. Rather than
           reaching out to try to help them grasp a new perspective and way of thinking, she
           repeatedly characterized them as misogynists (in class and email) and this closed off the
           possibility for learning.




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   From:
   on behalf of
   Sent:          11/6/2019 1:13:46 PM
   To:
   Subject:       Dean of Communicaton Message 2 of 2
   Attachments:   Student comp laint emails.pdf




   From: Murphy, Alexandra
   Sent: Tuesday, November 5, 2019 8:26 PM
   To:
   Subject: Re: Request for Additional Documentation from the Faculty Appeals Board




   My scanner at home worked! Attached please find emails about the student complaints.

   Again, please let me know if I am missing any information.

   All my best,
   Lexa.




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                                                          Tuesday, November 5, 2019 at 5:50:20 PM Central Standard Time


       Subject: Re: [Ext] Re: Complaint letter CMN 230
       Date:      Thursday, January 10, 2019 at 7:14:11 PM Central Standard Time
       From:
       To:        Murphy, Alexandra

               Hello Professor,

       The professor did not reach back to me besides the first time when she refused to meet with us as a
       group and wanted to meet individually. I respo nded to her that time that I did not feel comfortable
       meeting her one to one. to state the facts, I w as th e one w ho reached out to her the first time not
       herself. please let me know if there is anythin g else you w ant me to clarify.

       Warm re ards


       From: Murphy, Alexandra <AMURP HYl@d epa l.ed >
       Sent: Thursday, January 10, 2019 8:08 P
       To~
       Subject: Re : [Ext] Re: Complaint letter C       230

       Hi -

       I am so happy to hea r that th e class ended ok. Ca n you t ell me if Dr. Ca lvente ever reach ed out to meet with you to
       ta lk about what had happened?

       Best,
       Lexa.

       Sent from my iPad

       On Jan 10, 2019, at 6:10 PM,                                                 rote:



                Hello Professor,

                Thankfully I did pass without problem. I am thankful for your efforts to help me and my
                other friends. I would kindly ask you to keep my complaint letter to be used for any future
                complaint by other students if the same action is repeated. Thank you again and have a
                wonderful day.

                Warm regards,




                From: M urphy, Alexandra <AM URPHY1@depaul.edu>
                S e ~ r y 10, 2019 3:37 PM
                To:-
                Subject: Re : Complaint letter CMN 230



                                                                                                                              Page 1 of 2


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               H...-
               I wanted to follow-up with you to see how the rest of the class went with Dr. Calvente?

               All my best,
               Lexa .


               From:
               Date: Monday, October 29, 2018 at 1:36 PM
               To: Alexandra Murphy <AMU RP HY1@degau l. edu >
               Subject: Complaint letter CMN 230

               Hello Professor,

               I have rece ived your email regarding you r meeting with professor Li sa, and I am t hankful for
               your effort to solve our issue. I have decided to stay in the class since wit hdrawing might impact
               my scholarship and would ca use me some trouble at this time. However, I am attach ing a letter
               regarding what hap pened in order to have records of the situation in case another student
               complain in th e future, or my grades were impacted by what happened.

               Warm regards,




                                                                                                                     Page 2 of 2


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               October 29, 2018

               Dr. Alexandra G .Murphy, Dean,
               Collage of Communication
               DePaul University

               Re:     Student Complaint
                       Professor Lisa B. Y. Calv ente C::V~S 230

                Dear Dr. Alexandra G.    urphy.

                I am writing this letter to expre y oncems regarding a course taught this quarter by
                Professor Lisa B. Y. Cah·e 1e.     ·s 230: Performance, Communication, and the Body, and to
                request our interventio · resolving these issues.

                On October 11, _01 8, I the writer of this letter,                     an
                made our        rformance titled "DePaul ' s Paradox" that we were assigned to do under
                " Staged Performance One: Everyday Performances at DePaul University" (See, attached
                docume . The performance was inspired by our interpretations of the readings assigned for the
                clas as ey related to our campus and our own experiences with space, gender, sexuality, race,
                and e i ity.

                On of our performance scenes touched on a sensitive topic in our society in the present day,
                m1    ~ny. The scene started with each of the group members repeating the word empowerment,
                the ale members of the group jumped off the stage facing the only female member the group
                stating ·-...,ve live in a culture, where the false universal of 'man' has been presupposed as
                   exi:ensive with humanness itself." The male members of the group were on the floor kneeling
                while listening to her statement. The moment she finished, the male members clapped and gave
                her a compliment. After that the male members of the group turned around, got close to each
                other, and said few misogynist statements such as "who gave women the right to speak" and
                "don't listen to her." After that the female member of the group stood behind the male members
                of the group and said ''those who fail to do their gender right are regularly punished." The scene
                then ended.

                The scene's intention was to show the true image of misogyny in society and how men who
                participate in such acts fake their support of women empowerment and only speak their truth
                when they get together behind doors. After we finished our performance, we set on the stage
                to receive the comments of the professor and our classmates. One female student
                complemented the powerful message of that scene and a few other comments followed until




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                professor Calvente said that the scene ,vas a fabrication of reality, She argued that the scene
                represented our idea of misogyny but was not coming from reality, Also, that we did not follow
                the assignment criteria since we have to make scenes inspired by our reality. I raised my hand
                and argued that misogyny is not something I heard or read about but something that 1 interacted
                with personally in real Hfo. My pee~-lso argued that the fact that the professor is a \Vomen
                might lead her to not interact \Vith such acts but that does not mean that as men we have not
                witnessed it in our day to day lives. The professor insisted on her argument that our scene \Vas a
                fabrication ofreaHty. At this moment, the situation got a bit intense in the classroom, The
                conversation \vent back and forth. Each side did not agree on the other's po int of view. \\/e as
                students did not feel that our hard \Vork \Vas validated or appreciated and the professor insisted to
                keep going with her argument The.cfass ends promptly at 3:00 and the professor continued to try
                to convince us that our scene was a fabrication of reality. At this point my peer.asked the
                professor "'is there anything at aUthat \vas good in our perform.anceT' At this point, l expected
                the professor to end the argument and address our strength and ·weaknesses. However, she kept
                going ,vith her argument From my perspective, the protessor's tone showed anger since ,ve did
                not agree with her perspective or as she called it iater ''constructive crhidsm."Now it had passed
                3:00 and most of the class had left. So xve started to gather our things since each ofus has
                something to do afterthe class. The professor finally realized that and ended her argument. We
                 left the class feefing very 1.mcomfortable. She later claimed that one of us stormed out and said
                "'this is bullshit'' but personally I did not hear it I met fo\v classmates outside the dass and they
                were shocked of the conversation escalated that way. Few of them commented that the professor
                 acted out of anger. Fe\v hours later, the professor sent an email to an the class list stating:
                       I w,,nt to abo take this opponunily lO directly add.r;;oss mir final dialogtw on the bsi performm,ce today. \\'hik l
                       Uc,deut,nd that many of you may not be accustomed to cunstrudivc criticism. in a ,dassrnom setting,, this does tl{lt aJkrw
                       any of you to act out in ·ways tbat are disn:spectfol to your profossor and your dassmatcs. ·111e assiguruent 'Nas very clear
                       in what students 'Nere expcettd to do md not ,k and acting om fictive sixipts wa.q directly addressed in the hand<ml,
                       w"hid1 of all of you received two week.." before yilur original perforrnauce date. In addition to fuk; you had an extension
                       CTt rehearsal lwcmise I listened to your re9Ksts and wanted ymJ ail to have fu.: time that yon foh you needed, Dfologac is
                       a. primary part ()fperformance as ymw readings have also highEghte,i I expect the dassro()!U to be a space ofmw:uaJ
                       respect and active listening in etrder for diabgue tn oc,;:;ur. Thi, meaw, having a dialogue on possible err()ts in order to
                       improve tlrnsc crrnrs for yc,ur next two graded perfomiances, This does nut nmm actively resisting what your professor
                       highlighh and bterrupling. Thh doe" not mean silencing the only female member of your group when she attempts to
                       respond, ootl kaving her, nther classmates, and myself {all of t\1iom happen to women) to dean up the prnps kfr behind
                       after das:s, And, this absohitely does not mean storming offond stating that WThh: is bullshit" For the Iatkr, I expect au
                       explarrntirm. Finally, I w,mt to directly highlight that these are in fact examples of misogynist acts that play out in local
                       and familiar settings Uke the classroom and we can alt learn from this experienct by having real dialogue on Tuesday.
                       So, for Taesdlly, we will pick up on these events and tic it to our r<.'.adlngs and performance pedagogy, \Ve wm ahw.1
                       eov<c:r Dolan. and hmch on Madfoon, On another Mtc. r wanted tn tcrnimi llil ofym1 that the syllabus for tile courne
                       dearly states mir university polky c,n classrnmn behavior and ,-\NY behavitir of disrespect in the classroom wit! NOT be
                       tolerated and is in direet violatkm of the stt1dent cc)(k ofoonduct and the university s.:mk of comlud. I will be happy to
                       discuss this farther individually m in cla5s on Tuesday.

                ln her email she continued to argue that the scene \Vas fictive and did not take our reality in
                consideration. She also implied that the male members of the group \Vere misogynist and that we
                <lid not allm:v the female member of the group to speak, When we were on the stage, each ofus




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                spoke when they had the chance and we did not notice that we silenced the female member of the
                group. Later on we texted her asking if we have offended or interrupted her, she replied "Yeah I
                wasn't offended or anything i think she (the professor) just didn't like how y'all interrupted me
                idk this is wild." The professor stated "and leaving her (female member of the group), other
                classmates, and myself (all of whom happen to women) to clean up the props left behind after
                class." Each member of the group brought their personal things and left with them. Nothing was
                left behind but the things that were brought by                     the female member of the
                group.

                I sent the professor an email to meet with her as a group saying:
                Hello professor,

                Thursday ended in an unpleasant way. As a group, ,, ha\ worked hard to make a performance that speaks our reality. There
                may have been miscommunication or misunderstanding that        o what happened. We would like to arrange for a meeting before
                the class on Tuesday to go over what happened in    son so we can explain ourselves as a group. Your office hour is from 12-1
                but not all of us can make it at that time o can" meetat 11?

                Warm regards,

                The professor rejected my request saying:
                Dear _      I will be happy to      • \\ith you before class, however there will be no group meeting. Office meetings bet\veen
                professor and srudent are one on one. A meeting that you suggest will violate the confidentiality relationship of such meetings
                especially since you want to discuss a graded assignment and a talk back session which includes a specific reaction that will be
                part of the grading pr     s. With this said. I teach during the time that you suggest and I have a meeting with another student at
                noon (during my office hours). I am available Tuesday at 9:30 and I am also available at 12:45. These nvo are half hour time slots
                so if you fuel like you need more time I can check my flexibility tomorrow to meet. Please send me your schedule this evening
                especial y for tomorrow so I can plan accordingly.

                I agreed to meet with her individually but thinking it through, I did not feel comfortable to meet
                her one-on-one so I notified her.

                On T uesda , October 16, 2018, I attended the class hoping things will be resolved professionally
                without any further escalation. My hopes were met with disappointment. The professor talked
                about sexism and how it is rooted in society to the point that people do not acknowledge it. She
                focused on persuading the class that what happened in the previous class was an example of that.
                She stated that the actions of the group were misogynist and were exercised against her as a
                female professor. Even though the theory in itself is correct when it comes to institutionalized
                social norms, it does not mean that we can be attacked as an example of it, that put us in an
                attacked position. I felt humiliated and attacked in her class since all that she was doing is an
                attempt to win the situation not solve the issue. I participated and said, the reaction that was
                given by us as a group was not because we were misogynist or sexist, it was because our realities
                as men differ from the reality of the professor. That does not mean that our reality is fictive since
                it did not match the reality of the professor. The tension occurred because our realities were
                called upon as fictional and based on that we disagreed with the professor. In addition to that I
                said, the previous performances received a complete overview of their performance. However, in
                our case, the professor did not say anything regarding our performance and instead, she
                criticized a concept of our performance. From these two perspectives, the group did not receive
                  alidation for their hard work, and male members' reality was called fictitious. She answered my
                response with a critique of how close I am to perceive the truth.




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                The professor has wronged my other group members and me without any attempt to solve the
                issue but to escalate it and try to prove that we are wrong. My learning environment has been
                compromised, and my dignity has been attacked in front of the class.

                Unfortunately, I do not have time to fight this case and keep up with its time and phycological
                impact on my personal life. Therefore, 1 would like the dean to add this document to the
                professor record for any future cases with other students in the future. Also use it in case my
                grade is impacted by this interaction



                I will be happy to answer any questions you might have. Thank ou for taking time to review my
                request.



                Sincerely,




                Encl:
                   •    Assignment fo rm
                   •    Email exchanges with Professor Lisa B. Y. Calvente




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Re: M eeting with t he p erforman ce group.                                                                                                                                                                                                                   :::J
                                                                                                                                                                                                                                                              Cll
                                                                                                                                                                                                                                                             0..
                                                                                                                                                                                                                                                              Q)

Tue 10/16/2018, 12:37 AM                                                                                                                                                                                                                                     0I
To: Ca lvente, Lisa <LCALVENT@depaul,edu>

Dear professor,
                                                                                                                                                                                                                                                             -Q)
                                                                                                                                                                                                                                                              C
                                                                                                                                                                                                                                                              Q)
                                                                                                                                                                                                                                                              >
                                                                                                                                                                                                                                                              Cll
After thinking it through, I don't feel comfortable mee ting one to one before the class.                                                                                                                                                                    (.)


See you in class tomorrow,
Wa rm regards,



On Oct 14, 2018, at 11:41 PM,                                                         wrote:


      Sure, wi ll be there at that time.

      Warm regards,



      On Oct 14, 2018, at 7:49 PM, Ca lvente, Lisa        <LCALYENT@~~> wrote:




       -     Since you thought is was necessary to explain any perceived "miscommunication" during the talk back session of your group performance before class on Tuesday and you cannot meet with me anytime tomorrow between 9:30 and 9 PM, I
             am afraid we will have to take the available time on Tuesday that works for you and I at 9:30 AM . While I understand that you think 30 minutes is not enough time , we can take !his meeting as a starting point of your explanation. We can
             address everything else as a class group in class and schedule anolher appointment if you see fit afterwards.

             See you Tuesday morning at 9:30. My office suite is 1842 in the same building as our class.

             Dr. Calvente

             Li sa B. Y. Calvente, Ph.D .
             Assistant Professor, College of Communication
             Affi l iations: Critical Ethnic Studies, African and Blac k Diaspora Studies, Latin American and Latino Studies
             DePaul University
             14 East Jack son Boulevard, Suite 1832
             Chicago, I L 60604
             Telephone : 312-362-7992
             Fax : 312-362-8620
             Emai l : lcalvent@! k ~

             Lisa B. Y. Calvenle is co-editor of the collection,
             l.!J1prints of Revo[lllion: Visual R,:presentqtions of Resistance (Rowman & Littlefield Intl., 20 16).

             Fr
             Se      . .. . . ..  -         ..
             To: Calvente, Lisa
             Subject: Re: Meeting with the performance group.

             Dea r professor,

             Even t hough I believe that meeting wi th you as a group will make t hings clearer and deliver a better statue of understanding, I am okay to do It Individually as we ll. Tomorrow, u nfortunately, I have classes and work
             from 10 am to 9 pm . I can do anytime before 9:30 am tomorrow if you can. I can do Tuesday from any time in the morning unti l 11:50 but I do not think that 30 m inutes Is enough to go over what happened . Let m e                            Cll
             know when it works best for you and I will be there.                                                                                                                                                                                            :;:::;
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   From: Calvente, Lisa <~@~Jlfil!.!&!Y>                                                                                                                                                                                                              0I
   Sent: Sunday, October 14, 2018 7:13 PM
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   I will be happy to speak with you before class, however there will be no group meeting. Office meetings between professor and student are one on one. A meeting that you suggest will violate the confidentiality relationship of such
   meetings especially since you want to discuss a graded assignment and a talk back session which includes a specific reaction that will be part of the grading process. With this said, I teach during the time that you suggest and I have a
   meeting with another student at noon (during my office hours). I am available Tuesday at 9:30 and I am also available at 12:45. These two are half hour time slots so if you feel like you need more time I can check my flexibility tomorrow to
   meet. Please send me your schedule this evening especially for tomorrow so I can plan accordingly.

   Dr. Calvente

   Lisa B. Y. Calvente, Ph.D.
   Assistant Professor, College of Communication
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   Email: ~        @m:!1l!.ll.W.u
   Lisa B. Y. Calvente is co-editor of the collection,
   [JJ1prints of Revo/111ion: Visual Representatiom of Resislq11ce (Rowman & Lill lcficlcl Int l • 20 16).

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   Hello professor,

   Thursday ended in an unpleasant way. As a group, we have worked hard to make a perform ance that speaks our reality. There may have been miscommunication or misunderstanding that led to what happened. We
   would like to arrange for a meeting before the class on Tuesday to go over what happen eel In person so we can explain ourse lves as a group. Your office hour is from 12-1 but not all of us can make it at that time so can
   we meet at 11?




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               Case: 1:20-cv-03366 Document #: 52-4 Filed: 11/19/21 Page 29 of 32 PageID #:1745
                                                       Tuesday, November 5, 2019 at 5:27:52 PM Central Standard Time


       Subject:
       Date:
       From:
                            .   . ..
                      Performance Studies
                                       -r 15, 2018 at 4:56:42 PM Central Daylight Time

       To:            Murphy, Alexandra
       Attachments: imagel.jpeg, ATT0000l.txt

       Good Evening Dr. Murphy,

       I would just like to express my appreciation for your time and patience with me this afternoon. I am working on
       getting in touch with the other group members and typing up a summary of the incident. Following this email I will
       forward you the email from Professor Calvente addressed to the entire class in addition to our groups brief
       communication with her. Attached is a screen grab from the female student from my group where she indicated that
       she wasn't offended by this instance as the professor indicated.




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    Case: 1:20-cv-03366 Document #: 52-4 Filed: 11/19/21 Page 30 of 32 PageID #:1746   N
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Yeah guys I wasn't offended or
anything i think she just didn't like
how y'all interrupted me but idk this
is wild




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      Sent from my iPhone

       Begin forwarded message:


               From: "Lisa Calvente" <LCALVENT@ mail.d2l.de pau l. edu>
               Date: October 11, 2018 at 6:32:10 PM CDT
               Subject: Next Staged Performance and Classroom Behavior
               Reply-To: "Lisa Calvente" <LCALVENT@mail.d2l.degaul.ed u>



               Dear Students,

               I have attached the worksheet for your next performance. Please read it carefully and we will go
               over it for the next class. It is also under course content on D2L.

               I want to also take this opportunity to directly address our final dialogue on the last performance
               today. While I understand that many of you may not be accustomed to constructive criticism in a
               classroom setting, this does not allow any of you to act out in ways that are disrespectful to your
               professor and your classmates. The assignment w as very clear in what students were expected to do
               and not do and acting out fictive scripts was direct ly add ressed in t he handout, which of all of you
               received two weeks before your original performance dat e. In addition to this you had an extension
               on rehearsal because I listened to your requests and w ant ed you all to have the time that you felt
               you needed.

                Dialogue is a primary part of performance as you r readings have also highlighted. I expect the
                classroom to be a space of mutual respect and active listening in order for dialogue to occur. This
                means having a dialogue on possible errors in order t o improve those errors for your next two
                graded performances. This does not mean actively resisting wh at you r professor highlights and
                interrupting. This does not mean silencing th e only female member of your group when she
                attempts to respond, and leaving her, other cl assmates, and myself (all of whom happen to women)
                to clean up the props left behind after class. And, t his absolut ely does not mean storming off and
                st ating t hat "This is bullsh it. " For the latter, I expect an explanation.

                Fina lly, I want to directly highlight that t hese are in fact examples of misogynist acts that play out in
                local and familiar settings like the classroom and we can all learn from this experience by having real
                dialogue on Tuesday. So, for Tuesday, we will pick up on these event s and tie it to our readings and
                performance pedagogy. We will also cover Dolan and touch on Madison.

                On another note, I wanted to remind all of you that the syllabus for the course clearly states our
                university policy on classroom behavior and ANY behavior of disrespect in the classroom will NOT be
                tolerated and is in direct violation of the student code of conduct and the university code of
                conduct.

                I will be happy to discuss this further individually or in class on Tuesday.

                Have a great weekend!

                Dr. Calvente

                <Second Staged Performance CMNS 230 Fall 2018.docx>




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               Case: 1:20-cv-03366 Document #: 52-4 Filed: 11/19/21 Page 32 of 32 PageID #:1748


         Staged Performance One: £yen-dav P
         The first performance is a group performan e at \
         stage an or official A /OR mapped, unofficial narra ive perfo
         performances are scheduled for Tuesday, October 9. You will ha e one rr  · 1-c 1ass
         performance on Thursday, October 4. All other preparation must be done outside of the           r oor::. _ -
         performance should be influenced by the readings from Schechner to Dolan and must incorporate the techni
         you have learned from our in-class workshops. Please keep in mind that performance is not theater so please do not
         script a performance that emphasizes acting. Follow the sheet on the techniques from Epic Theatre and the
         workshop exercises in class.

         Each group should pick a theme that can tie together your interpretations of the readings as it is related to our
         campus and your own experiences with space, gender, sexuality, race, ethnicity, and/or class. You should then
         organize images that will tell a story that focuses on the theme you have chosen. Feel free to use your free-
         writes/thoughts on your names to "fill in the blanks" for your staged performance.

         You are expected to perform ALL performances with costume, props, music, or any specials your performance
         requires. Each group must incorporate images and movement: techniques directly taken from the workshops. You
         are also expected to integrate course concepts and demonstrate your grasp of these concepts.

         Your performance is expected to be CRITICAL (critical thinking, challenging your assumptions is a prerequisite to
         this course) and you will be graded on a scale from I to 5 in the following categories: (1) memorization and
         concentration (2) Scripting and adaptation (3) stage movement and blocking (4) innovation and creati ity. The
         group performance is five to seven minutes.
         Reminder: Written reports and performance programs are due on the day of your performance PRIOR to when ou
         perform. Each group will submit one written report, which are a minimum of three pages.

         Written Reports: consist of
               1. an analysis of key concepts/theme you are enacting in your performance: how did you choose this
                  theme? How is it significant to your readings and performance theories in particular?
               2. an explanation of how these concepts further illuminate specific passages in your readings: how does
                  your performed theme/concepts further the passages in the readings your have chosen?
               3. a description of your performance process that culminated in particular performance technique and
                  image choices in staging chosen theme: how did the particular techniques illuminate your theme? How
                  did it limit your theme?
               4. a discussion of your purpose or what you wish your audience to "gain" from your performance: what
                  message to you want to convey to your audience? Wba were the performance "specials" you used to help
                  you achieve this goal?

         Performance Programs: Must be distributed to the class (one for each student and the professor) and they will
         consist of:
               1.   the title of your performance
               2.   the cast list
               3.   the reading selections
               4.   interesting quotes from your rehearsals
               5.   the purpose of your performance

          GROUPS




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